          Case 2:07-cv-01790-LKK-EFB Document 448 Filed 09/13/10 Page 1 of 14


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11   Attorneys for Defendants
     Corrections USA, a California Corporation,
12   California Correctional Peace Officers
     Association, a California Corporation,
13   Donald Joseph Baumann, and
     James Baiardi
14
15                               UNITED STATES DISTRICT COURT
16                              EASTERN DISTRICT OF CALIFORNIA
17   BRIAN DAWE; FLAT IRON            )            Case No.: 2:07-cv-01790LKK-EFB
18   MOUNTAIN ASSOCIATES, LLC,        )
     formerly known as Flat Iron Mountain
                                      )            [Consolidated Master Case]
19   Associates, a Partnership,       )
                                      )            RENEWED MOTION IN LIMINE NO. 8
20                                    )            TO EXCLUDE MARK COHEN EXPERT
                          Plaintiffs, )            REPORT AND TESTIMONY
21                                    )
     v.                               )
22                                    )
     CORRECTIONS USA , a California   )            Date:         September 14, 2010
23   Corporation; et al.,             )            Time:         10:30 a.m.
                                      )            Courtroom:    4
24                        Defendants. )            Judge:        Hon. Lawrence K. Karlton
     ________________________________ )            Trial:        July 27, 2010
25                                    )
     AND RELATED COUNTERCLAIMS )
26   AND CROSS-COMPLAINTS             )
                                      )
27   ________________________________ )

28

     MOTION IN LIMINE NO. 8 TO EXCLUDE                               DAWE, et al. v CORRECTIONS USA, et al.
     COHEN EXPERT REPORT AND TESTIMONY                                 USDC, EDCA Case No.: 2:07-cv-01790
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           Case 2:07-cv-01790-LKK-EFB Document 448 Filed 09/13/10 Page 2 of 14


 1 TO THE COURT AND ALL PARTIES AND ATTORNEYS OF RECORD:
 2          Defendants Corrections USA, California Correctional Peace Officers Association, James
 3   Baiardi and Donald Joseph Baumann (hereafter “Defendants”) respectfully move this Court for an
 4   Order excluding the report and testimony of Expert Mark Cohen.
 5
 6   I.     INTRODUCTION
 7          Defendants object to the introduction of the opinions of Mark Cohen with regard to both
 8   Plaintiff Dawe and Plaintiff Harkins. The bases for the objections are Daubert v. Merrell Dow
 9   Pharmaceuticals, 509 U.S. 579 [113 S.Ct. 2786]; Kumho Tire Co. v. Carmichael, 526 U.S. 137, 141
10   (1999); FRE104, FRE 402, FRE 403, FRE 703, FRCP 16(d), and FRCP 26(a)(2)(A) and (B)(ii) and
11   (iii). The Ruling on Motion in Limine No. 8 was deferred to trial by the Court.
12
13   II.    LEGAL ARGUMENT
14          The opinions set forth as to Plaintiff Dawe are based substantially upon documents not
15   produced in discovery and not placed on Plaintiffs’ Exhibit List. They are in violation of the Final
16   Pretrial Order and Discovery Rules 16 and 26 (See Exhibit 1, highlighted portions of Cohen
17   Opinion). [Trial Exh. 1045-1/1045-2] [Exhibit No. 1]
18          In particular, Plaintiff Dawe did not produce any financial information for Brian Dawe,
19   Marilyn Dawe or FIMA after the year 2007. Defendants specifically requested these documents. They
20   include:
21          A.      Defendants’ Request for Production of Documents Set One, Requests Nos. 37 – 41,
22   served on June 28, 2008, which demanded that Plaintiffs produce all documents, tax information, IRS
23   documents and finances relating to Brian Dawe, Marilyn Dawe and FIMA LLC. These requests were
24   made continuing (Page Two/Set I). [Trial Exh. 26E-0001]
25          B.      Defendants’ Request for Production of Documents, Set Two, Requests Nos. 143 and
26   147, served on January 23, 2009, which demanded that Plaintiffs produce all documents showing
27   pecuniary harm and economic injuries to Brian Dawe. These requests were also made continuing.
28   (Page Two/Set Two). [Trial Exh. 26E-0052]

     MOTION IN LIMINE NO. 8 TO EXCLUDE                                    DAWE, et al. v CORRECTIONS USA, et al.
     COHEN EXPERT REPORT AND TESTIMONY                                      USDC, EDCA Case No.: 2:07-cv-01790
                                                     -2-
           Case 2:07-cv-01790-LKK-EFB Document 448 Filed 09/13/10 Page 3 of 14


 1           C.      Defendants’ Request for Production of Documents, Set Three, Requests No. 163 and
 2   174, which demanded that Plaintiffs produce all documents supporting Dawe’s Supplemental
 3   Disclosure No. 3(a) of wage lost of $2.9 million and all documents showing economic damages
 4   suffered by Brian Dawe from June 1, 2006 to the present. [Trial Exh. 26E-0085] These requests
 5   were also made continuing. (Page Two/Set Three). [Trial Exh. 26E-0002]
 6           Plaintiff Brian Dawe responded to these various discovery requests by stating that he had no
 7   responsive documents, all documents had been produced, and/or he would produce all documents.
 8   [Trial Exh 26E-0001/0098] He did not do so. He further submitted an election to refer to documents
 9   in response to Special Interrogatories. [Trial Exh. 22X] He still did not identify the documents he
10   now wants to have Expert Mark Cohen use in his expert testimony.
11           A motion to compel was filed and heard on July 29, 2009. Magistrate Judge Brennan on
12   October 1, 2009, ordered supplemental production, certification and verification that all documents
13   had been produced by Plaintiff. [Ct Doc. No. 228, Page 6] The Plaintiff submitted Supplemental
14   Responses with a verification that all documents had been produced. [Trial Exh. 26N-0001/0006]
15   They were not, as Plaintiff Dawe never produced the documents he now wants Expert Mark Cohen
16   to use in his Expert Testimony. [Trial Exh. 26N-0007/0091]
17           The documents continuously requested in discovery that were not produced or made part of
18   Plaintiffs’ exhibits are monthly income and expense reports from 11/1/2008 through 10/27/2009,
19   Federal Partnership Tax Returns 1065 for FIMA LLC for TY 2008 (8/19/2009), Federal Individual
20   Tax Return 1040 TY 2008 (9/08/2009) and account statements for bank accounts (income/expenses)
21   11/1/2006 to 8/31/2010. Plaintiffs, for the first time, served these documents on August 9, 2010. (See
22   attached emails wherein Defendants do not waive objections). (See FRCP 26 and FRCP 16, et seq.)
23   (TT Vol 4, pages 755-756) (See Exhibit 2, 8/9/2010 letter of Defendants and email response of
24   Plaintiffs). [Exhibit 2]
25           The opinions set forth as to Plaintiffs Dawe and Harkins fail the reliability and fitness tests of
26   both Daubert v. Merrell Dow Pharmaceuticals, 509 U.S. 579, [113 S.Ct. 2786], and Kumho Tire
27   Co. v. Carmichael, 526 U.S. 137, 141 (1999). Kumho Tire Co. v. Carmichael, 526 U.S. 137, 141
28   (1999) sets forth three restrictions on the admission of expert testimony, qualifications, reliability and

     MOTION IN LIMINE NO. 8 TO EXCLUDE                                        DAWE, et al. v CORRECTIONS USA, et al.
     COHEN EXPERT REPORT AND TESTIMONY                                          USDC, EDCA Case No.: 2:07-cv-01790
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 1   fit. FRE 702 requires that expert opinions be based upon facts and data, reliable method and that the
 2   methods be applied to the facts in the case. The element of “fit,” as set forth in Kumho Tire Co. v.
 3   Carmichael, supra, is defined in Daubert, supra. “Fit” means that the opinion must be tied to the
 4   facts in the case. Daubert, at page 591, citing Rule 702. Here they do not.
 5           As to both Plaintiffs, there is no scientific or expert opinion necessary to do the math
 6   calculations set forth in Expert Cohen’s opinions. There is no evidence or testimony of Plaintiffs
 7   Dawe and Harkins as to any probable continued employment relationship or probable continued
 8   contract rights lost as a result of Defendants’ conduct. To allow this expert testimony will be
 9   prejudicial to Defendants, not assist the trier of fact in resolving the issues before it, and will create
10   unnecessary confusion under FRE 403.
11           Further, the testimony is barred by FRE 702 in that the testimony is not based upon sufficient
12   facts or data relevant to the case, is not the product of reliable principles and methods, and Expert
13   Cohen has not applied any principles and methods reliably to the facts of the case. For instance, the
14   escalations in Plaintiffs’ unsupported income are not supported by any evidence in the case, i.e., the
15   continued income of Plaintiff Dawe (beyond the one-year termination clause, $111,000) and
16   continued income of Plaintiff Harkins up to $5,500 per month until the age of 70.
17           To allow Expert Cohen to testify in this matter will not assist the trier of fact in understanding
18   or determining any issue in this case as required by FRE 702 and Daubert, supra. In fact, allowing
19   his testimony will create confusion, mislead the jury, delay the case and waste the time of the Court
20   and jury. Any probative value in doing a math calculation (which the jury can do) is outweighed by
21   the prejudicial effect of allowing opinion testimony contradicted by the evidence in the case, based
22   upon inadmissible hearsay, and lacking in scientific method. Further, to allow his testimony will render
23   the Final Pretrial Order and discovery limitations set forth in FRCP 16 and 26, respectively, a nullity.
24
25   III.    CONCLUSION
26           Based upon the foregoing reasons, the report and testimony of Expert Mark Cohen should
27   be excluded for all purposes under FRE 403, FRE 702, FRE 104(a) and (b). Alternatively,
28   Defendants request a voir dire examination of Expert Cohen if the Court requires further examination

     MOTION IN LIMINE NO. 8 TO EXCLUDE                                        DAWE, et al. v CORRECTIONS USA, et al.
     COHEN EXPERT REPORT AND TESTIMONY                                          USDC, EDCA Case No.: 2:07-cv-01790
                                                        -4-
          Case 2:07-cv-01790-LKK-EFB Document 448 Filed 09/13/10 Page 5 of 14


 1   before ruling.
 2
 3   Dated: September 12, 2010                 Respectfully submitted,
 4                                             MASTAGNI, HOLSTEDT, AMICK,
                                               MILLER & JOHNSEN
 5
 6                                       By:             /s/ David P. Mastagni
 7                                             DAVID P. MASTAGNI
                                               Attorneys for Defendants, Corrections USA,
 8                                             CCPOA, James Baiardi, and Donald Joseph
                                               Baumann
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     MOTION IN LIMINE NO. 8 TO EXCLUDE                               DAWE, et al. v CORRECTIONS USA, et al.
     COHEN EXPERT REPORT AND TESTIMONY                                 USDC, EDCA Case No.: 2:07-cv-01790
                                                 -5-
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                          EXHIBIT 1
   Case 2:07-cv-01790-LKK-EFB Document 448 Filed 09/13/10 Page 7 of 14
Case 2:07-cv-01790-LKK-EFB  Document 349 Filed 06/12/2010 Page.)  0 ::b1045- 'I
                                                            03 fE2C


COHEN VOLK & DRABKIN                                                                                  .. 3650 MT. DIABLO BLVD. SUITE 104
                                                                                                                          LAFAYETTE CA 94549
CONSULTING ECONOMISTS                                                                                                          T 925.299.1200
                                                                                                                               F 925.299.1490



                                                       October 30, 2009



    Mr. Daniel L. Baxter
    Wilke, Fleury, Hoffelt
    400 Capital Mall, Suite 2200
    Sacramento, CA 95814


                                        Re: Brian Dawe v. Corrections USA


    Dea Mr. Baxter:
    As Chief Economist for Cohen Volk & Drabkin, 1 have been retained to evaluate the
    economic losses to Brian Dawe and Flat Iron Mountain Associates resulting from an
    alleged breach of contract and defamation by Corrections USA. To assist me in
    completing the assignment, your offce provided the following documents:
        1. Verfied First Amended Complaint, dated 1/30/2009.
        2. U.S. lndividuallncome Tax Returns for Brian and Marlyn Dawe for 2003
                   through 2008.
         3. U.S. Retui'll ofPa."Ierhip Income for Flat Iron Mountain Associates for 2003
                   through 2008.
         4. Selected sections of                 the Deposition Testimony of                Brian Dawe, Volume 1;
                   dated 8113/2008.
         5. Agreeent dated 711/1998 beteen Corrections USA and Brian Dawe,
         6. Amendment to the contractual agreement between Corrections USA and Brian
                   Dawc, dated 311/2000.
         7. Agreement dated 6/29/2003 between Corrections USA and Brian Dawe.
         8. Contract signed 6116/2006 between Corrections USA and Flat iron Mountain
                   Associates.
        9. 11112009 through 8/3 1 12009 monthly income and expense document.



    In fonning my opinions, I have also relied upon information gained from Mr. Dawe via
    telephone conversations.

   Based upon these materials and information, I have prepared two analyses of economic
   Joss to Brian Dawe and Flat Iron Mountain Associates. One analysis takes a neutral
   approach to mitigation of futue losses, while the other takes an optimistic approach to
   mitigation of future losses. Both analyses are attached.




                SOUTHERN CAliFORNIA OFFICE: 5743 St.THWAY ST. SUITE 100 . LOS ANGELES CA 90040' T 323.722.8"'7' F 323.722.200
Case 2:07-cv-01790-LKK-EFB Document 448 Filed 09/13/10 Page 8 of 14 EX 1045-2



  Mr. Danel L. Baxter
  Page 2
  10/30/2009

 In both analyses, I assume that but-for the actions of Correcons USA, Brian Dawe and
 Flat Iron Mounta Associates could have expected to ea revenues based on the
  contrt signed 6/16/2006 betwee Corrections USA and Brian Dawe, Flat Iron Mountan
 Associates. Expenses are based on actual 2005 expenses. Past losses are based on the
 difference betee these but-for eargs, and the actual eargs of       Brian Dawe and Flat
 Iron Mounta Associates. Pre-judgment simple interest at 7% per year has been
 caculated as well. Futu losses are based on the difference betwee the eargs Brian
 Dawe and Flat Iron Mountan Associates could have expeted to ea absent the alleged
 breach of contrac and defamation, and actal expected eags as forect under
 alteratives (1) neutral, and (2) optiistic.


 For the neutral alterative, I have assumed Brian Dawe and Flat Irn Mounta
 Associates will have zero eags begig in 20 i O. Actual eargs for Brian Dawe
 and Flat Iron Mountan Associates have been negative since the aleged breach of
 contrct and defamation by Corrections USA. Losses are caculated on a year-by-year
 basis until the end of         Mr. Dawe's expected worklife.

 For the optiistc alterative, I have assumed that the earngs of              Brian Dawe and Flat
 Iron Mounta Associates wil incrase each year such that by the begig of 20 14,
 eargs will have reached the level expected under the June 2006 contract with
 Correcons USA. Losses thus end effective 1/112014.

 Pleae note that the attched reports and comments are preliminar. As additional
 infoimation becmes available, I may augment or change my opinons. Along with the
 atthed report, pleae fid my CV, rate sheet, and a list of              testionies in the past four
year.
If you have any questions, please do not hesitate to contat me.


                                                       Sincerely,


                                              M/-K~   Mar Cohen
                                                      Chief Economist
Enclosures
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                          EXHIBIT 2
        Case 2:07-cv-01790-LKK-EFB Document 448 Filed 09/13/10 Page 10 of 14

                                               MASTAGNI, HOLSTEDT, AMICK,
                                                   MILLER & JOHNSEN


                                                                 ~
 DAVID !'. MAST AGNI
                                                               A PROFESSIONAL CORPORATION
 JOHN R. HOLSTEDT
 MICHAEL D. AMICK                                                                                                                     SEAN D. HOWELL
 CRAIG L. JOIINSEN                                                                                                                   I~AAC S, STEVENS
 CHRlS'I.OltiER W. MILLER                                                                                                        DANIEL l. MCNAMARA
                                      SACRAMENTO OFFICE                                                                            KRIS11NA T. JANSEN
 BRIAN A. DIXON                                                                                 SAN PRANCISCO: 415.214.8700
 STBVEN W. WELTY                             19121 STREI;T                                                                           PAUL T. DOI.BERG
                                         SACRAMENTO, CA                                         CHJCO: $30.895..18%           AN~'HONV S. FRANCEse.,i
STUART C. WOO                                                                                   STOCKTON, 209.948.6158
DAVID E. MASTAGNI                               95811. ';151                                                                       KEVTN J. RODlHGUEZ
                                                                                                SAN JOSE: 408.292.4802                   IAN M. ROeiir:
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                                                                                                FRESNO, 559-486.5580           JEFFREY R.I.. ROWARDS
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JOHN I'. TRlBlJlANO 11                                                                                                                  KEVIN C. CHAU
PHILLIP R.A MASTAGNI                                                                            FEll. Ilil 94.267841,0           ALßISRTO 0, lORHJCO
KATHLEEN N. MASTAGNI STORM          SAN PRANcrsco OFFICE                                                                           NATALIE A. POWERS
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                                            ALAN C. DAVIS
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ANTHONY P. DONOGHUE                                                                                                                 MARK P.. JOHNSON
                                  SAN FRANCJSCO. eA n4111
                                                                                                                                      J USTJN K. M ¡Y IIJ
SEAN D. CURRtN
                                              (415)274.8700         www.mastagni.com                                            DIANNE SCHAlJMOUHG
                                                                                                                                  SUMAIRA H. ARASTlJ


                                                                       August 9,2010

           U.S. Mail and E-Mail

          Daniel L. Baxter, Esq,
          WILKE, FLEURY, HOFFELT,
          GOULD & BIRNEY, LLP
          400 Capìtol Mall, Floor 22
          Sacramento, CA 95814
          pbaxtcr(à2wi Ikefieury,colJ


                    Re: Brian Dawe, et al. v. Corrections USA, etc. et aL., and Related Cross-Actions _
                         United States District Court, Eastern District, Case No.: 2:07-cv-OI790
                         -----------------------------------------------------------------------

         Dear Dan,


                    Thank you for following up. As you know my question was whether or not this
         information had been produced in discovery or designated as an exhibit. My search of
                                                                                                     the or
         discovery, exhibit list and pre-trial order all indicate that this information was not produced
         designated and is not admissible. Uniformally, in the continuing discovery request responses, you
         indicated that all fìnancial information had been previously produced, it was through 2007,

               As you have known from both Phillip, myself and Motion in Limine No.8, we are
        o~jecting to Mr. Cohen's report and testimony, These same objections were made in Motion # 8
        and you did not respond to the failure to produce documents or designate exhibits in your
        response.

                   Federal Rules of Civil Procedure § 26, Federal Rules of Evidence § 104a, and Federal
        Rules of Evidence § 702 bar the presentation of Mr. Cohen's testimony.

                  Additionally, these newly produced discoveiy items do not meet the late admission of
        exhibits criteria set forth in the final pre-trial order. The information was long in your client's
       possession, available, not produced, and not made exhibits.
                   Case 2:07-cv-01790-LKK-EFB Document 448 Filed 09/13/10 Page 11 of 14




                      DanielL. Baxter, Esq.
                      August 9,2010
                      Page 2




                                We are in the middle of trial and this case has been fully worked up without this evidence.
                    This effoli to introduce this evidence is prejudiciaL.

                                Lastly, both Mr. Dawe and Mr. Harkins have testified on the issues of
                                                                                                           their damages.
                    Nowhere in there testimony is there any support for the mathematical calculations performed by
                    your expcrt, or his opinions. Any statements made to Mr. Cohen are self serving inadmissable
                    hearsay.

                                Thank you for getting back to me.

                          In closing, I must correct your emaiL. My request was that you direct me to where these
                   documents were produced in discovery, or made exhibits. At no time did I waive any objections
                   to Mr. Cohen's repoli andl or testimony or agree to late exhibits/discovery production as your
                   email infers.

                                The ruling on Motion in Limine # 8 was deferred. Please confirm your withdrawal of Mr.
                   Cohen and these exhibits from presentation at trial.


                                                                                     Very Truly Yours,

                                                                                     MASTAGNI, HOLSTEDT, AMICK,
                                                                                     MILLER & .JOHNSEN, APC


                                                                                    ~.  ~ K (/~~;t
                                                                                    ~~~ASTAGNI
                  DPM/kjc




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             Case 2:07-cv-01790-LKK-EFB Document 448 Filed 09/13/10 Page 12 of 14


 David P. Mastagni
From:                                        Daniel L. Baxter (DBaxter~wilkefleury.comJ
Sent:                                        Monday, August 09, 2010 2:36 PM
To:                                          David P. Mastagni
Subject:                                     RE: Dawe v. CUSA, Correspondence from David P. Mastagni


David,

I will do as you ask, but frankly at this point it is not high on my priority list. I have this week's witnesses for which to
prepare, and it is now clear that Mr. Cohen will not be testifying until the week of September 30. I will take a look at your
motion this weekend or next week; however, if memory serves, that motion evidences a fundamental
                                                                                                              lack of
understanding regarding the rules governing expert testimony. Unfortunately, I reach the same conclusion regarding
your letter of this afternoon.


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                  Direct Telephonf:: 91£,.:);9. l,b




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                  Wilke, FIE'.liry, Hoffelt: Goulc! 8, Elìrney, LLP
                  400 Capitol Hall, Twenty"      Second F'Ioor" I Sacr'î'Tlento, Callfoniìa 95814
                  Telephone: 916.441.2'130 I Facr;ìiiiìlc: 9Hì.4"+;,66b4
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From: David P. Mastagni (mailto:dmastagni(Qmastagni.comJ
Sent: Monday, August 09, 2010 2:22 PM
To: Daniel L. Baxter
Subject: RE: Dawe v. CUSA, Correspondence from David P. Mastagni


Please rèad the deferred mil, and if the documents were produced and listed as an exhibit please direct me to the
numbered production and exhibits.

Thank you.

MASTAGNI, HOLSTEOT, AMICK,
MILLER & .JOHNSEN
1912 I STREET
SACRAMENTO, CA 9581 i
(916) 44(¡-4692




            _X_IF THIS BLANK IS MARKED WITH AN "X" THE FOLLOWING NOTICE APPLIES:
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                            Case 2:07-cv-01790-LKK-EFB Document 448 Filed 09/13/10 Page 13 of 14
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 From: Daniel L. Baxter (mailto:DBaxter\9wilkefleury.comJ
 Sent: Monday, August 09, 20102:17 PM
 To: Kelsey J. Christensen
 Cc: David P. Mastagni
 Subject: RE: Dawe v. CUSA, Correspondence from David P. Mastagni


 David,

 Your letter is confusing. As best I can tell, you are asking me to agree to a wholesale withdrawal of Mr. Cohen's
 testimony based on a purported failure to produce some of the documents on which his opinions are based.

 If that is in fact your request, it is denied. If you believe a motion to exclude (or a renewal of your existing motion) is well
 taken, there is nothing I can do to prevent such a filing.



                                  Dan Elaxtei-
                                  Direct T(è'lcphonc: 916.329.17~:i6


                                                         c
                                  Wilke, Fleury, HofI'elt, Could &. ßinicy, LLP
                                  400 Capitol Mall, Twenty'r;eccHld Floor' I :";¡OICl'i;1lncnto, CalìI'olliia 9:ïEJ14
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From: Kelsey J. Christensen (mailto:kelseylQmastagní.com)
Sent: Monday, August 09, 2010 1:58 PM
To: Daniel L. Baxter
Subject: Dawe v. CUSAf Correspondence from David P. Mastagni


Please find attached correspondence from Mr. Mastagni. Please call if                                                                                                        you are unable to open the attachment.

Thank You,
Kelsey Christensen - 916-491-4232
Assistant to David P. Mastagni, Esq.

                                                                                                                                                   2
        Case 2:07-cv-01790-LKK-EFB Document 448 Filed 09/13/10 Page 14 of 14

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